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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KENDALL CARNAHAN,
                                       Case No. 1:25-cv-00490-CM-BCM
                 Plaintiff,

                 v.

BATON CORPORATION LTD, d/b/a
PUMP.FUN, ALON COHEN, DYLAN
KERLER, and NOAH BERNHARD HUGO
TWEEDALE,

                 Defendants.

 MEMORANDUM OF LAW IN SUPPORT OF AARON KVENILD’S MOTION FOR
            APPOINTMENT AS LEAD PLAINTIFF AND
          APPROVAL OF SELECTION OF LEAD COUNSEL
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                                PRELIMINARY STATEMENT

       This litigation is a securities class action brought on behalf of a Class of all purchasers of

PNUT Tokens since October 31, 2024. The complaint alleges, among other things, that (a) the

PNUT Tokens are securities, as defined by Section 2(1) of the Securities Act of 1933 (“Securities

Act”), 15 U.S.C. § 77b(a)(1); (b) that a U.S. Securities and Exchange Commission (“SEC”)

required registration statement was never filed for PNUT Tokens; (c) that defendant Baton

Corporation was a “statutory seller” of the PNUT Tokens and violated Sections 5 and 12(a)(1) of

the Securities Act, 15 U.S.C. §§ 77e, 77l(a)(1), by selling, passing title, or soliciting the purchase

of, PNUT Tokens to the Class, and (d) the other defendants were control person of Baton

Corporation and violated Section 15 of the Securities Act, 15 U.S.C. § 77o.

       Class member Aaron Kvenild (“Kvenild”) respectfully seeks appointment as Lead Plaintiff

in the action. Kvenild meets all the requirements of the Private Securities Litigation Reform Act

(“PSLRA”) for appointment as Lead Plaintiff. See 15 U.S.C. § 77z-1(a)(3)(B)(iii). Kvenild timely

filed this motion; believes he has the largest financial interest in the relief sought by the Class,

having suffered a loss of $18,606.93 related to his purchase of PNUT Tokens; and also satisfies

the adequacy and typicality requirements of Rule 23.

       Kvenild further requests that the Court approve his selection of Wolf Popper LLP and

Burwick Law, PLLC to serve as Co-Lead Counsel for the Class. Wolf Popper is a nationally

recognized securities litigation firm with a consistent record of achieving substantial recoveries

for the benefit of injured investor classes. Burwick Law PLLC is a law firm focused on

representing clients in issues related to digital assets, cryptocurrency, and securities law. Wolf

Popper and Burwick Law have the expertise and resources necessary to provide high quality legal

representation to the Class.




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                     FACTUAL AND PROCEDURAL BACKGROUND 1

       A.      The Defendants

       Defendant Baton Corporation Ltd. (“Baton Corporation” or the “Company”) is a private

limited company organized under the laws of the United Kingdom. Baton Corporation owns and

operates Pump.Fun and the Pump.Fun website (collectively, “Pump.Fun”), and/or conducted

business as or through Pump.Fun. ¶¶ 13-14. Pump.Fun’s core function is to work alongside

influencers to co-issue and market unregistered securities. ¶ 5.

       Defendant Alon Cohen (“Cohen”) is a founder and the Chief Operating Officer (“COO”)

of Baton Corporation. ¶ 15. Defendant Dylan Kerler (“Kerler”) is a founder and the Chief

Technology Officer (“CTO”) of Baton Corporation. ¶ 16. Defendant Noah Bernhard Hugo

Tweedale (“Tweedale”) is a founder and the Chief Executive Officer (“CEO”) of Baton

Corporation. Tweedale also owns or controls more than 75% of the voting rights in Baton

Corporation. ¶ 17.

       B.      The Sale of PNUT Tokens Is Alleged to Damage Investors

       PNUT Tokens are memecoins. Memecoins are digital assets that are issued leveraging

existing blockchain technology. While functioning as tradable cryptocurrencies on blockchain

networks, memecoins derive their primary appeal from their association with viral trends, social

media phenomena, and celebrity endorsements. The term “memecoin” aptly reflects the reliance

of these assets on cultural references and branding strategies that resonate strongly with online

communities, serving as a tool to build awareness and attract participants. The proliferation of

memecoins and their associated trading platforms has led to widespread financial losses among




1
 Unless otherwise noted, the factual background herein relies on the Complaint filed in this action
(ECF No.1), and references to “¶_” are to the paragraphs of the Complaint.


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retail investors, particularly affecting younger and less experienced individuals who are attracted

by promises of quick wealth and social media promotion. See, e.g., ¶¶ 25-39.

       The promotional strategies employed for memecoins heavily emphasize the potential for

exponential returns, often described in terms such as “100x” or “1000x” gains while exploiting the

“fear of missing out” (FOMO) psychology, creating artificial urgency and encouraging impulsive

investment decisions without proper consideration of risks. Despite their growing popularity in

cryptocurrency markets, memecoins generally lack any substantive economic value or underlying

assets with price movements "driven almost entirely by speculation, marketing hype, and the

continuous influx of new investors, creating an inherently unstable and high-risk investment

environment. The speculative nature of memecoins, combined with their accessibility and

liquidity, attracts participants seeking opportunities for financial gain in the volatile

cryptocurrency market. See, e.g., ¶¶ 25-39.

       Pump.Fun exercises complete control over the creation, launch, and trading of every

memecoin on its platform, including the PNUT Token, through a mandatory standardized technical

framework. This framework encompasses proprietary smart contract templates, unified pricing

mechanisms, and centralized liquidity management that apply uniformly to all tokens launched on

the platform. Every token created through Pump.Fun must utilize the Pump.Fun’s proprietary

smart contract templates, which dictate the fundamental characteristics and operational parameters

of the token. Significantly, these templates are not customizable by individual developers, ensuring

that all tokens share identical technical characteristics and operational features that make them

securities under federal law. The platform implements a uniform bonding curve pricing mechanism

across all tokens, which automatically determines token prices based on supply and demand. This

standardized pricing structure creates identical speculative characteristics across all tokens, as




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early investors are incentivized by artificially low initial prices that rise automatically as more

investors purchase the token. See, e.g., ¶¶ 49-53.

       The PNUT Token was first issued, marketed and sold by Baton Corporation/Pump.Fun on

October 31, 2024 and rapidly achieved a market capitalization of $1 billion, becoming what was

claimed to be the fastest animal-themed memecoin to reach this milestone. ¶ 40. This rapid value

appreciation allegedly was driven by the defendants’ sophisticated marketing campaign combining

promises of exponential returns, luxury lifestyle imagery, and coordinated social media promotion.

¶ 41. The defendants actively promoted PNUT through a systematic campaign designed to drive

speculative investment, which included regular social media posts featuring images of luxury

vehicles, specifically a yellow Lamborghini with the caption Fasten your seatbelts, alongside

space-themed imagery such as rockets with captions like “Lift-off!” and “Sky is the limit.” Id.

These promotional materials, combined with claims about record-breaking market capitalization

achievement, were designed to create expectations of profit among potential investors. ¶¶ 41-42.

       C.      Defendants’ Alleged Violations of the Securities Act

       The Complaint alleges that PNUT Tokens are securities, as defined by Section 2(1) of the

Securities Act, because they “involves an investment of money in a common enterprise with profits

to come solely from the efforts of others.” SEC. v. W.J. Howey Co., 328 U.S. 293, 301 (1946). For

example, investors made a monetary investment by purchasing PNUT Tokens. ¶¶ 2, 41-43, 64-67.

A common enterprise existed, as evidenced by a sharing or pooling of the of investors’ funds, and

the fortunes of each investor in the pool being tied to one another and the fortunes and efforts of

Pump.Fun and/or the defendants. ¶¶ 68-72. The marketing campaign, led by the defendants,

created uniform expectations of profit across all tokens through its standardized marketing

approach and technical infrastructure. ¶ 73 Pump.Fun’s promotional materials consistently




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emphasize extraordinary returns, with statements like “100x your money” and “222,222x growth”

presented as realistic possibilities for any token launched on the platform. ¶¶ 73-77.

       The Complaint alleges that PNUT Tokens are unregistered securities. No required

registration statement was ever filed for the PNUT Tokens. ¶¶ 3, 98.

       The Complaint alleges that Baton Corporation, which owns, operates, and controls

Pump.Fun, violated Sections 5 and 12(a)(1) of the Securities Act and is liable to the proposed Class

as it is a statutory seller of PNUT Tokens in that it either (a) passed title or other interest in PNUT

Tokens for value to the Class, or (b) solicited the purchase of PNUT Tokens for their own financial

benefit through, among other things, public statements touting PNUT Tokens and their potential

for profit, as well as encouraging the purchase of PNUT Tokens. See, e.g., ¶¶ 1-5, 104-113; see

also Pinter v. Dahl, 486 U.S. 622 (1988); Oberlander v. Coinbase Glob. Inc., No. 23-184-cv, 2024

U.S. App. LEXIS 8200, at *3 (2d Cir. Apr. 5, 2024). The Complaint also alleges claims against

defendants Cohen, Kerler, and Tweedale as control persons of Baton Corporation. ¶¶ 114-119.

       D.      Procedural History

       On January 16, 2025, this action was filed in this Court. On January 17, 2025, the PSLRA

required notice of pendency (15 U.S.C. § 77z-1(a)(3)(A)(i)) was published on ACCESS Newswire,

a national wire service, announcing that this securities class action had been filed against the

defendants, and advising the putative class members that they may move the Court no later than

60 days from the date of the notice, or March 18, 2025 for appointment as Lead Plaintiff (the

“Notice,” Ruthizer Decl. Ex. 1). 2




2
 Declaration of Joshua W. Ruthizer in Support of Aaron Kvenild’s Motion for Appointment as
Lead Plaintiff and Approval of Selection of Lead Counsel (“Ruthizer Declaration”).


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                                           ARGUMENT

I.     Kvenild Is the Most Adequate Plaintiff and Should Be Appointed Lead Plaintiff

       A.      The Lead Plaintiff Framework Under the PSLRA

       The PSLRA instructs that in a securities class action, a court “shall appoint as lead plaintiff

the member or members of the purported plaintiff class that the court determines to be most capable

of adequately representing the interests of class members (hereafter in this paragraph referred to

as the ‘most adequate plaintiff’).” 15 U.S.C. § 77z-1(a)(3)(B)(i). The PSLRA creates a rebuttable

presumption that the most adequate plaintiff is the “person or group of persons that has either filed

the complaint or made a motion [for appointment as lead plaintiff]; in the determination of the

court, has the largest financial interest in the relief sought by the class; and … otherwise satisfies

the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. § 77z-

1(a)(3)(B)(iii)(I)(aa)-(cc). The PSLRA allows that the presumption may only be rebutted “upon

proof” that the most adequate plaintiff “will not fairly and adequately protect the interests of the

class; or … is subject to unique defenses that render such plaintiff incapable of adequately

representing the class.” 15 U.S.C. § 77z-1(a)(3)(B)(iii)(II)(aa)-(bb).

       Kvenild satisfies each requirement of the PSLRA, and respectfully submits that he is the

presumptive “most adequate plaintiff.” Kvenild has complied with the PSLRA procedural

requirements, holds the largest financial interest of any known movant, and satisfies Rule 23’s

typicality and adequacy requirements.

       B.      Kvenild Has Satisfied the PSLRA’s Procedural Requirements

       Kvenild timely filed the instant motion seeking appointment as Lead Plaintiff for the Class

and approval of his selection of lead counsel for the Class. Kvenild has also submitted the PSLRA

required sworn certification attesting to his willingness to serve as Lead Plaintiff for the Class and

to provide testimony at deposition and trial, if necessary. Ruthizer Decl. Ex. 2. Kvenild therefore


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satisfies the first element of the PSLRA’s “presumptively most adequate plaintiff” analysis. 15

U.S.C. § 77z-1(a)(3)(B)(iii)(I).

       C.      Kvenild Has the “Largest Financial Interest” in the Relief Sought by the
               Class

       The PSLRA states that the Court should award the most adequate plaintiff presumption to

the movant who “has the largest financial interest in the relief sought by the class.” 15 U.S.C.

§ 77z-1(a)(3)(B)(iii)(I)(bb). The PSLRA does not specify a method to determine which lead

plaintiff movant has the largest financial interest, and neither the Supreme Court nor the Second

Circuit have specified a method for the calculation. See Balestra v. ATBCOIN LLC, 380 F. Supp.

3d 340, 361 (S.D.N.Y. 2019) (citation and omitted) (applying PSLRA lead plaintiff analysis in

case alleging sale of unregistered securities).

       Thus, courts in this district typically apply the four-factor test first adopted in Lax
       v. First Merchants Acceptance Corp., No. 97 C 2715, 1997 U.S. Dist. LEXIS 12432
       (N.D. Ill. Aug. 11, 1997), when making a determination as to which party has the
       largest financial interest. Those factors include: (1) number of shares purchased
       during the class period; (2) number of net shares purchased during the class period;
       (3) net funds expended during the class period; and (4) approximate financial losses
       suffered.

Id. (citation omitted); see also In re Fuwei Films Sec. Litig., 247 F.R.D. 432, 436 (S.D.N.Y. 2008)

(setting forth elements of the Lax test); Aude v. Kobe Steel, Ltd., No. 17-CV-10085 (VSB), 2018

U.S. Dist. LEXIS 57591, at *7 (S.D.N.Y. Apr. 4, 2018) (applying Lax test).

       Kvenild purchased 678,555.0344 PNUT Tokens for a total cost of $201,252.41, and sold

678,532.5082 PNUT Tokens for total proceeds of $182,654.48. Applying the Lax factors, Kvenild

(1) purchased 678,555.0344 PNUT Tokens, (2) purchased 22.5261 net PNUT Tokens, (3)

expended net funds of $18,606.93, and (4) suffered approximate financial losses of $18,606.93.

As damages under Section 12(a)(1) of the Securities Act are rescissory, the value of Kvenild’s

current holdings do not reduce his losses. 15 U.S.C. § 77l(a)(1) (the purchaser “may sue either at



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law or in equity in any court of competent jurisdiction, to recover the consideration paid for such

security with interest thereon, less the amount of any income received thereon, upon the tender of

such security, or for damages if he no longer owns the security.”).

       Accordingly, Kvenild satisfies the second requirement of the PSLRA’s “presumptively

most adequate plaintiff” analysis. 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I)(bb).

       D.      Kvenild Satisfies the Typicality and Adequacy Requirements of Rule 23

       In a motion for appointment as lead plaintiff, “the moving plaintiff must make only a

preliminary showing that the adequacy and typicality requirements under Rule 23 have been met.”

Fuwei Films, 247 F.R.D. at 436.

       The Rule 23(a) typicality requirement is satisfied when a plaintiff’s claims arise from the

same event, practice or course of conduct that gives rise to other class members’ claims and

plaintiff’s claims are based on the same legal theory. See In re Livent, Inc. Noteholders Sec. Litig.,

210 F.R.D. 512, 516 (S.D.N.Y. 2002). Rule 23 does not require the lead plaintiff to be identically

situated with all class members. Id.

        Here, Kvenild’s claims are typical of those of the purported Class. Kvenild, as did all

members of the Class, purchased PNUT Tokens that were unregistered securities in violation of

the federal securities laws either from Pump.Fun or as a result of the defendants’ solicitations of

the sale of PNUT Tokens. Kvenild, and the Class, suffered damages as a result of the purchase of

these unregistered securities. Because Kvenild’s claims arise from the same course of events as

the Class’s claims, Kvenild satisfies the typicality requirement of Rule 23(a)(3).

       “The adequacy requirement is satisfied where: (1) class counsel is qualified, experienced,

and generally able to conduct the litigation; (2) there is no conflict between the proposed lead

plaintiff and the members of the class; and (3) the proposed lead plaintiff has a sufficient interest




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in the outcome of the case to ensure vigorous advocacy.” City of Monroe Employees’ Ret. Sys. v.

Hartford Fin. Svcs. Group, Inc., 269 F.R.D. 291, 297 (S.D.N.Y. 2010).

       Here, Kvenild is an adequate representative. Kvenild’s claims are not antagonistic or in

conflict with those of the Class. Kvenild is not subject to any unique defenses. Further, Kvenild’s

loss of $18,602.84 means he has sufficient interest in the outcome of this litigation to ensure

vigorous advocacy on behalf of the Class, whose interests align directly with his own. As described

below, Kvenild has retained Wolf Popper LLP and Burwick Law PLLC to act as Co-Lead Counsel,

and the firms are experienced in securities, cryptocurrency, and digital asset litigation. Kvenild has

submitted a sworn certification, as required by the PSLRA, attesting to his willingness to serve as

Lead Plaintiff for the Class and to provide testimony at deposition and trial, if necessary. Ruthizer

Decl., Ex. 2. Kvenild has also submitted a declaration attesting to, among other things, his

understanding of the obligations of a lead plaintiff and commitment to zealously prosecute this

litigation. Ruthizer Decl., Ex. 3.

       Because Kvenild’s claims are typical of those of the Class and because Kvenild will

adequately represent the Class, Kvenild satisfies the third requirement of the PSLRA’s

“presumptively most adequate plaintiff” analysis. 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I)(cc).

II.    Kvenild’s Selection of Wolf Popper and Burwick Law to Serve as Co-Lead Counsel
       Should Be Approved

       Under the PSLRA framework, the “most adequate plaintiff shall, subject to the approval

of the court, select and retain counsel to represent the class.” 15 U.S.C. § 77z-1(a)(3)(B)(v). The

Court should only interfere with Lead Plaintiff’s selection when necessary “to protect the interests

of the class.” 15 U.S.C. § 77z-1(a)(3)(B)(iii)(II)(aa).

       Kvenild has selected Wolf Popper and Burwick Law to act as Co-Lead Counsel, and

respectfully request that the Court approve its selection. Wolf Popper is highly experienced in the



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area of securities litigation and class actions, and has successfully prosecuted numerous securities

litigations and securities fraud class actions on behalf of investors as detailed in its attached

resume. See Ruthizer Decl., Ex. 4. For example, in Martinek v. AmTrust Financial Services, Inc.,

No. 19-cv-08030-KPF (S.D.N.Y.), Judge Katherine Polk Failla of this Court appointed Wolf

Popper to serve as lead counsel on behalf of a class of investors in AmTrust Financial Services

preferred stock. On November 16, 2022, Judge Failla entered an order finally approving a $13

million cash settlement for the Martinek class. Martinek, ECF No. 111 (Final Judgment). Judge

Failla also stated that Wolf Popper “conducted the Litigation and achieved the Settlement with

skill, perseverance and diligent advocacy; [and] Lead Counsel are highly experienced in class

action litigation and securities class action litigation….” Martinek v. Amtrust Fin. Servs., Inc., No.

19 Civ. 8030 (KPF), 2022 U.S. Dist. LEXIS 209097, at *4 (S.D.N.Y. Nov. 16, 2022).

       Also, in Plumbers’ & Pipefitters’ Local #562 Supplemental Plan & Trust v. J.P. Morgan

Acceptance Corp. I, No. 2:09-cv-01713 (E.D.N.Y.), Wolf Popper represented the Public

Employees’ Retirement System of Mississippi as lead plaintiff and recovered $280 million for

investors in residential mortgage-backed securities issued by JPMorgan Acceptance Corp. On July

24, 2014, Judge Pamela K. Chen of the Eastern District of New York entered an order approving

the settlement. The Court found that “the representation of both sides was obviously very vigorous.

The plaintiffs expended efforts in terms of pursuing the investigation, the theories, the research

and the advocacy.” J.P. Morgan Acceptance Corp. I, ECF No. 230 (Transcript) at 19:14-17.

“Certainly in the beginning, at the time when some of the legal principles that are applied in this

case, in any cases related to mortgage-backed securities, was not well established. They did

yeomen’s work in trying to establish some of those principles.... [T]his is a good result in this

particular case.” Id. at 22:5-18.




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       Burwick Law is a New York City-based litigation firm focused on representing clients in

actions related to digital assets, cryptocurrency, and securities law. Burwick Law has rapidly

established itself as a leader in cryptocurrency litigation. Burwick Law has successfully

represented hundreds of claimants in complex actions involving fraudulent token sales,

nonfungible tokens (NFTs), and Ponzi schemes, including a $440 million staking-based Ponzi

scheme. The firm’s work has been featured in leading media outlets such as Law360 and

Bloomberg Law, underscoring its reputation for navigating high-stakes litigation in the evolving

digital asset space. Max Burwick brings a unique combination of technological expertise and legal

acumen to his practice, focusing on protecting investors and consumers from fraud and regulatory

violations. With a commitment to rigorous advocacy and client-centered service, Burwick Law

leverages deep knowledge of securities regulations and blockchain technologies to hold violators

accountable and secure meaningful recoveries for defrauded investors. See Ruthizer Decl., Ex. 5.

       As a result of Wolf Popper’s and Burwick Law’s extensive experience in litigation

involving issues similar to those raised in this action, they have the skill and knowledge to

prosecute this action effectively and expeditiously. The Court may be assured that by approving

the Kvenild’s selection of Lead Counsel, the members of the Class will receive the best legal

representation available.




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                                     CONCLUSION

      For the foregoing reasons, Kvenild respectfully requests that this Court issue an Order

appointing him as Lead Plaintiff and approving Wolf Popper and Burwick Law as Co-Lead

Counsel.

 Dated: March 18, 2025                        Respectfully submitted,
        New York, NY
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                               WORD COUNT CERTIFICATION

       Pursuant to Southern District of New York Local Civil Rule 7.1(c), the undersigned hereby

certifies that this memorandum of law contains 3,298 words, excluding the caption, any index,

table of contents, table of authorities, signature blocks, or any required certificates. I utilized the

word count of the word-processing program used to prepare the document in order to obtain that

word count.

                                                               /s/ Joshua W. Ruthizer
                                                               Joshua W. Ruthizer




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